Case 2:23-cv-10513-LJM-KGA ECF No. 46-8, PageID.2215 Filed 09/13/24 Page 1 of 6




               Exhibit G
         Case 2:23-cv-10513-LJM-KGA ECF No. 46-8, PageID.2216 Filed 09/13/24 Page 2 of 6




·1· · · · · · · · UNITED STATES DISTRICT COURT
·2· · · · · · · · EASTERN DISTRICT OF MICHIGAN
·3· · · · · · · · · · ·SOUTHERN DIVISION
·4
·5· ·DANIEL REIFF,· · · · · · Case No. 23-cv-10513-LJM-JJCG
·6· · · · · · · · · · · · · · Hon. Laurie J. Michelson
·7· ·Plaintiffs,
·8
·9· ·vs.
10
11· ·OFFICER BROC SETTY, in his individual
12· ·capacity and CLINTON TOWNSHIP,
13
14· ·Defendants.
15
16
17· · · · · · · ·Ex. G - Officer Hackstock BWC
18
19· · · · · · · · · · · ·*CONFIDENTIAL*
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  Case 2:23-cv-10513-LJM-KGA ECF No. 46-8, PageID.2217 Filed 09/13/24 Page 3 of 6

   DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
   G, EXHIBIT                                                                     2


·1· · · · OFF. SETTY:· Where you calling from?
·2· · · · MALE:· Walking -- walking down the road.
·3· · · · OFF. SETTY:· Come here.
·4· · · · MALE:· Walking down the road.
·5· · · · OFF. SETTY:· Come here.
·6· · · · OFFICER 2:· [Inaudible]. Going through the yard.
·7· · · · DISPATCH:· Okay. Going through the yard. Got an
·8· ·update?
·9· · · · OFFICER 2:· No. Lost him. Somewhere on the north
10· ·side of metro.
11· · · · DISPATCH:· Okay.
12· · · · OFF. SETTY:· All right.
13· · · · OFFICER 2:· Adam's car is heading that way.
14· ·Having vehicle issues.
15· · · · DISPATCH:· Okay.
16· · · · OFF. SETTY:· He crossed over and went somewhere
17· ·behind this general area.
18· · · · OFFICER 2:· [Inaudible].
19· · · · DISPATCH:· Okay.
20· · · · OFFICER 2:· [Inaudible].
21· · · · DISPATCH:· Okay.
22· · · · OFF. SETTY:· [Inaudible] northbound, coming those
23· ·sides.
24· · · · OFFICER 2:· Say it again, Broc.
25· · · · OFF. SETTY:· [Inaudible] northbound [inaudible].


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   DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
   G, EXHIBIT                                                                     3


·1· ·Hey, Mark [inaudible]. Yeah. I got dogs barking,
·2· ·921977. [Inaudible]. Anyone responding [inaudible]
·3· ·further north.
·4· · · · OFFICER 2:· [Inaudible].
·5· · · · OFF. SETTY:· [Inaudible] Drexel. What's this
·6· ·guy's description again?
·7· · · · DISPATCH:· Yeah. White male, black and green
·8· ·coat.
·9· · · · OFF. SETTY:· Where you at, Broc?
10· · · · OFFICER 2:· Where is he? Where is he?
11· · · · FEMALE:· Um, uh, here behind.
12· · · · OFFICER 2:· Next there to the north of Drexel.
13· · · · DISPATCH:· Okay. [Inaudible].
14· · · · OFFICER 2:· I think we're good. He was walking
15· ·with that other fucking [inaudible]. Let's go over
16· ·there. Next one over. I saw him with the one guy. When
17· ·you told me that was him.
18· · · · OFF. SETTY:· Yeah. He walked out with the other
19· ·guy. The other guy was talking to the people in the
20· ·fucking driveway.
21· · · · OFFICER 2:· Okay.
22· · · · OFF. SETTY:· [Inaudible].
23· · · · OFFICER 3:· [Inaudible].
24· · · · OFFICER 2:· Yeah.
25· · · · OFFICER 3:· Seven O dispatch.


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      DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
      G, EXHIBIT                                                                     4


·1· · · · DISPATCH:· Seven O.
·2· · · · OFFICER 3:· [Inaudible].
·3· · · · OFFICER 2:· Charlie and t- -- uh, Baker are going
·4· ·back over there.
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      DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
      G, EXHIBIT                                                                     5


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·3· · · · I, Chris Naaden, a transcriber, hereby declare
·4· ·under penalty of perjury that to the best of my
·5· ·ability the above 4 pages contain a full, true and
·6· ·correct transcription of the tape-recording that I
·7· ·received regarding the event listed on the caption on
·8· ·page 1.
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11· · · · September 10, 2024
12· · · · Chris Naaden
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16· ·(33244, Ex. G - Officer Hackstock BWC)
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